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                                   STATEMENT OF FACTS

        Your affiant is a Special Agent with the Federal Bureau of Investigation (FBI) and I am
currently assigned to the FBI’s New York Field Office. Currently, I am tasked with investigating
criminal activity in and around the U.S. Capitol grounds on January 6, 2021. As a Special Agent,
I am authorized by law or by a Government agency to engage in or supervise the prevention,
detection, investigation, and prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

       On January 6, 2021, a joint session of the U.S. Congress convened at the U.S. Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the United States House of Representatives and the United States Senate were meeting in
separate chambers of the United States Capitol to certify the vote count of the Electoral College of
the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                  Evidence Linking MOYNIHAN to Assault on the U.S. Capitol

        On or about January 27, 2021, the FBI National Threat Operations Center received a tip
that an individual by the name of CHRISTOPHER PATRICK MOYNIHAN was captured on a
publicly available video of the unlawful activity that occurred on January 6, 2021 in and around
the Capitol building.

       As a result of this tip, the FBI interviewed two individuals who identified MOYNIHAN as
an individual who was inside the Capitol building and in the Senate chamber.

        Person-1 stated that he/she previously worked with MOYNIHAN for approximately one
year. Below is a screen capture of a video which Person-1 stated depicts MOYNIHAN. The video
appears to have been filmed on the Senate floor of the U.S. Capitol. During this video,
MOYNIHAN can be seen using his cellphone to take pictures of official congressional notes and
documents which are believed to detail the objections and votes of certain congressional members
on the certification of electoral results. As he reviews the documents, MOYNIHAN can be heard
saying “There’s got to be something we can use against these fucking scumbags.” Later in the
video, MOYNIHAN can be seen wearing an additional T-shirt and standing on the dais inside the
Senate chamber.
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        Person-1 provided a cellular telephone number of 845-337-1907 for MOYNIHAN.
According to records obtained through a search warrant served on Verizon, on January 6, 2021, in
and around the time of the incident, the cellphone associated with 845-337-1907 was identified as
having utilized a cell site consistent with providing service to a geographic area that includes the
interior of the United States Capitol building.

       The FBI also interviewed Person-2, who stated that he/she previously worked with
MOYNIHAN. Person-2 reviewed the same video as Person-1 and confirmed both the image and
the voice of MOYNIHAN on the video.

        Below is a screen capture of another publicly posted video showing a male matching
MOYNIHAN’s description on the Senate floor, next to an individual holding documents from one
of the Senate desks.




       Law enforcement confirmed the identification of MOYNIHAN by comparing images of
the person identified by Person-1 and Person-2 as MOYNIHAN against a photograph taken in
connection with a 1997 New York State arrest.

       Based on the aforementioned evidence, there is probable cause to believe that
MOYNIHAN was present inside the U.S. Capitol on January 6, 2021 during the riot and related
offenses that occurred at the U.S. Capitol Building, located at 1 First Street, NW, Washington,
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D.C., 20510 on January 6, 2021 and participated in the obstruction of the Congressional
proceedings.

        Accordingly, your affiant submits that there is probable cause to believe that MOYNIHAN
violated 18 U.S.C. § 1512(c)(2), which makes it a crime to corruptly obstruct, influence and
impede an official proceeding, that is, a proceeding before Congress, by entering and remaining in
the United States Capitol without authority and committing an act of civil disorder, engaging in
disorderly and disruptive conduct, and attempting to do so.

         Your affiant submits that there is also probable cause to believe that MOYNIHAN violated
18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain in any
restricted building or grounds without lawful authority to do; and (2) knowingly, and with intent
to impede or disrupt the orderly conduct of Government business or official functions, engage in
disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government
business or official functions; or attempts or conspires to do so. For purposes of Section 1752 of
Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a
building or grounds where the President or other person protected by the Secret Service, including
the Vice President, is or will be temporarily visiting; or any building or grounds so restricted in
conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that MOYNIHAN violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                      _________________________________
                                                      Dominic S. Trippodo, Special Agent
                                                      Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 25th day of February 2021.                               Digitally signed by G.
                                                                       Michael Harvey
                                                                       Date: 2021.02.25
                                                                       11:50:53 -05'00'
                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE
